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                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011
                                      June 13, 2022


     Clerk
     United States Court of Appeals for the Ninth
     Circuit
     95 Seventh Street
     San Francisco, CA 94103-1526


           Re: Ohana Military Communities, LLC, et al.
               v. Kenneth Lake, et al.
               No. 21-1223
               (Your No. 19-17340)


     Dear Clerk:

           The Court today entered the following order in the above-entitled case:

           The petition for a writ of certiorari is denied.



                                             Sincerely,




                                             Scott S. Harris, Clerk




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